                 Case 23-11240-TMH             Doc 121       Filed 09/15/23        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    )
                                                                    ) (Jointly Administered)
                                                                    )

    AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
    SEPTEMBER 18, 2023 AT 2:00 P.M. (EASTERN TIME) BEFORE THE HONORABLE
     THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
       STREET, 3RD FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801


       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
    Time on September 17, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

    https://debuscourts.zoomgov.com/meeting/register/vJIsf-CtrTstGPog6lQv250fhlCR5hwIChc

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
117, Mesa, AZ 85203.

2
    Amended items appear in bold.


DOCS_DE:244753.3 70786/001
                Case 23-11240-TMH       Doc 121     Filed 09/15/23     Page 2 of 5




RESOLVED MATTER

1.      Ordinary Course Motion – Debtors’ Motion for Interim and Final Orders Under
        Sections 105(a), 363, 1107(a) and 1108 of the Bankruptcy Code (I) Authorizing the
        Debtors to Continue in the Ordinary Course of Business: (A) Sale Activities Related to
        Certain “CIK” Properties, (B) Originating and Funding Mortgage, Loans, (C) Selling
        “Scratch and Dent Loans”, (D) Servicing Loans, and (II) Granting Related Relief [Filed:
        8/29/23] (Docket No. 22).

        Response Deadline: September 11, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: Informal comments received from the Government National
        Mortgage Association (“GNMA”) and the Federal Housing Administration (“FHA”).

        Related Documents:

        a) Certification of Counsel Regarding Revised Interim Order (I) Authorizing the
           Debtors to Continue in the Ordinary Course of Business: (A) Sale Activities Related
           to Certain “CIK” Properties, (B) Originating and Funding Mortgage, Loans, (C)
           Selling “Scratch and Dent Loans”, (D) Servicing Loans, and (II) Granting Related
           Relief [Filed: 8/30/23] (Docket No. 54).

        b) [Signed] Interim Order (I) Authorizing the Debtors to Continue in the Ordinary
           Course of Business: (A) Sale Activities Related to Certain “CIK” Properties, (B)
           Originating and Funding Mortgage Loans, (C) Selling “Scratch and Dent Loans”, (D)
           Servicing Loans, and (II) Granting Related Relief [Filed: 8/31/23] (Docket No. 59).

        c) Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion for
           Interim and Final Orders Under Sections 105(a), 363, 1107(a) and 1108 of the
           Bankruptcy Code (I) Authorizing the Debtors to Continue in the Ordinary Course of
           Business: (A) Sale Activities Related to Certain “CIK” Properties, (B) Originating
           and Funding Mortgage, Loans, (C) Selling “Scratch and Dent Loans”, (D) Servicing
           Loans, and (II) Granting Related Relief [Filed: 9/1/23] (Docket No. 68).

        d) Certification of Counsel Regarding Debtors’ Motion for Interim and Final Orders
           Under Sections 105(a), 363, 1107(a) and 1108 of the Bankruptcy Code (I)
           Authorizing the Debtors to Continue in the Ordinary Course of Business: (A) Sale
           Activities Related to Certain “CIK” Properties, (B) Originating and Funding
           Mortgage, Loans, (C) Selling “Scratch and Dent Loans”, (D) Servicing Loans, and
           (II) Granting Related Relief [Filed: 9/12/23] (Docket No. 110).

        e) [Signed] Final Order (I) Authorizing the Debtors to Continue in the Ordinary Course
           of Business: (A) Sale Activities Related to Certain “CIK” Properties, (B) Originating
           and Funding Mortgage Loans, (C) Selling “Scratch and Dent Loans”, (D) Servicing
           Loans, and (II) Granting Related Relief [Filed: 9/13/23] (Docket No. 114).

        Status: The order has been entered. No hearing is necessary.



DOCS_DE:244753.3 70786/001                      2
                Case 23-11240-TMH        Doc 121     Filed 09/15/23     Page 3 of 5




MATTER GOING FORWARD

2.      DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
        Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
        Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
        Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
        (Docket No. 21).

        Response Deadline: September 13, 2023 at 5:00 p.m. (Eastern Time).

        Responses Received:

        a) Informal comments received from GNMA and the FHA.

        b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
           September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/12/23] (Docket No. 113).

             (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                 September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                 Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                 Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                 Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                 Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                 (Docket No. 115).

        c) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/13/23] (Docket No. 116).

        Related Documents:

        a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 8/29/23] (Docket No. 37).

        b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
           No. 47).


DOCS_DE:244753.3 70786/001                       3
                Case 23-11240-TMH       Doc 121     Filed 09/15/23       Page 4 of 5




        c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
           No. 57).

        d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
           and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
           Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
           (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

        e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
           for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).

        f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
           Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

        g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

        h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00
           p.m. (ET) [Filed: 9/14/23] (Docket No. 119).

        Replies:

        a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
           Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
           Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
           and (V) Granting Related Relief [Filed: 9/14/23] (Docket No. 118).

        Status: This matter will go forward.




DOCS_DE:244753.3 70786/001                      4
                Case 23-11240-TMH   Doc 121     Filed 09/15/23   Page 5 of 5




Dated: September 15, 2023           PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                    /s/ Laura Davis Jones
                                    Laura Davis Jones (DE Bar No. 2436)
                                    David M. Bertenthal (CA Bar No. 167624)
                                    Timothy P. Cairns (DE Bar No. 4228)
                                    919 North Market Street, 17th Floor
                                    P.O. Box 8705
                                    Wilmington, Delaware 19899-8705 (Courier 19801)
                                    Telephone: 302-652-4100
                                    Facsimile: 302-652-4400
                                    Email: ljones@pszjlaw.com
                                            dbertenthal@pszjlaw.com
                                            tcairns@pszjlaw.com

                                    Proposed Counsel to the Debtors and Debtors in Possession




DOCS_DE:244753.3 70786/001                  5
